        Case 1:11-cr-00084-JL   Document 74   Filed 06/24/13   Page 1 of 2




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


United States of America
                                          Criminal No. 11-cr-84-02-JL
          v.

Jesus Manuel G. Guzman

                                  O R D E R


     The assented to motion to reschedule jury trial (document no.

68) filed by defendant is granted; Final Pretrial is rescheduled to

September 20, 2013 at 2:30 PM; Trial is continued to the two-week

period beginning October 1, 2013, 9:30 AM. In addition to various

filing deadlines contained in the local rules, the parties shall also

file any in limine motions no later than ten (10) days prior to the

final pretrial conference.        Objections to motions in limine shall

be filed no later than three (3) days prior to the final pretrial

conference.

     Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.


     SO ORDERED.

                                          ____________________________
                                          Joseph N. Laplante
                                          Chief Judge


Date: June 24, 2013
       Case 1:11-cr-00084-JL   Document 74   Filed 06/24/13   Page 2 of 2




cc:   Donald A. Feith, Esq.
      John W. Mitchell, Esq.
      Paul A. Maggiotto, Esq.
      U.S. Marshal
      U.S. Probation
